
Petitioner Michael James Kinney was admitted to practice law in the State of Minnesota in 2000. In May 2014, petitioner voluntarily resigned from the practice of law in Minnesota. On October 16, 2017, petitioner filed a petition for reinstatement *342to the practice of law in Minnesota. See Rule 18(a), Rules on Lawyers Professional Responsibility (RLPR). The Director of the Office of Lawyers Professional Responsibility investigated the matter and reported her conclusions to a panel of the Lawyers Professional Responsibility Board. See Rule 18(b), RLPR.
After considering the written submissions of the parties, the panel found that petitioner has proven his ethical fitness and competence to practice law by clear and convincing evidence and has met all of the conditions for reinstatement.
We have independently reviewed the file and approve the panel's recommendation.
Based upon all the files, records, and proceedings herein,
IT IS HEREBY ORDERED that petitioner Michael James Kinney is reinstated to the practice of law in Minnesota, subject to payment of the applicable registration fee under Rule 2, Rules of the Supreme Court on Lawyer Registration.
